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                                 No. 23-10362

              UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                       ________________
   ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
  PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
    PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS;
          SHAUN JESTER, D.O.; REGINA FROST-CLARK, M.D.;
           TYLER JOHNSON, D.O.; GEORGE DELGADO, M.D.,
                                        Plaintiffs-Appellees,
                                v.
 FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of
 Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as
Principal Deputy Commissioner, U.S. Food and Drug Administration;
                    (Caption continued on inside cover)
                            ________________
          On Appeal from the United States District Court for the
           Northern District of Texas, Amarillo, No. 2:22-cv-223
             Hon. Matthew J. Kacsmaryk, U.S. District Judge
                              ________________
 BRIEF OF PHARMACEUTICAL COMPANIES, EXECUTIVES,
   AND INVESTORS AS AMICI CURIAE IN SUPPORT OF
   APPELLANTS’ MOTION FOR STAY PENDING APPEAL
                  ________________
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April 11, 2023
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  PATRIZIA CAVAZZONI, M.D., in her official capacity as Director,
  Center for Drug Evaluation and Research, U.S. Food and Drug
         Administration; UNITED STATES DEPARTMENT OF
   HEALTH AND HUMAN SERVICES; XAVIER BECERRA, Secretary,
        U.S. Department of Health and Human Services,
                                          Defendants-Appellants,
                               v.
                     DANCO LABORATORIES, L.L.C.,
                                          Intervenor-Appellant.
                         ________________
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            CERTIFICATE OF INTERESTED PERSONS

     Under Fifth Circuit Rule 29.2, the undersigned counsel of record for

amici curiae certifies that the following listed persons and entities, in

addition to those listed in the Appellants’ Certificate of Interested

Persons, have an interest in the amicus brief. These representations are

made in order that judges of this Court may evaluate possible

disqualification or recusal.

     Amici curiae organizations:

        • Biotechnology Innovation Organization (BIO) is a trade
          association. It is not publicly traded and has no parent
          corporation. No publicly traded corporation owns 10% or
          more of its stock.

        • Braidwell LP’s parent company is Braidwell Holdings LP. No
          publicly held corporation owns 10% or more of Braidwell LP’s
          stock.

        • Cadence OTC (a/k/a Cadence Health, Inc.) has no parent
          corporation. No publicly held corporation owns 10% or more
          of Cadence OTC’s stock.

        • Capstan Therapeutics has no parent corporation. No publicly
          traded corporation owns 10% or more of Capstan
          Therapeutics’ stock.

        • Cellevolve Bio Inc. has no parent corporation. No publicly
          traded corporation owns 10% or more of Cellevolve Bio Inc.’s
          stock.

        • Curae Pharma360 Inc.’s parent company is Medicines360.
          Medicines360 owns 100% of Curiae Pharma360 Inc.’s stock.
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      • Deep Track Capital has no parent corporation. No publicly
        traded corporation holds 10% or more of Deep Track Capital’s
        stock.

      • Exxclaim Capital has no parent corporation. No publicly
        traded corporation holds 10% or more of Exxclaim Capital’s
        stock.

      • Eyepoint Pharmaceuticals has no parent corporation.
        Franklin Resources, Inc. (NYSE: BEN) owns 16.7% of
        Eyepoint Pharmaceuticals’ stock.

      • Gilead Sciences, Inc. has no parent corporation. No publicly
        traded corporation owns 10% or more of Gilead Sciences, Inc.’s
        stock.

      • Juvena Therapeutics, Inc. has no parent corporation. No
        publicly traded corporation owns 10% or more of Juvena
        Therapeutics, Inc.’s stock.

      • Kinexum LLC has no parent corporation. No publicly held
        corporation owns 10% or more of Kinexum LLC’s stock.

      • Medicines360 is a nonprofit 501(c)(3) organization that is not
        publicly traded. Medicines360 has no parent corporation, and
        no publicly traded corporation owns 10% or more of
        Medicines360’s stock.

      • Nitrase Therapeutics, Inc. has no parent corporation. No
        publicly traded corporation owns 10% or more of Nitrase
        Therapeutics, Inc.’s stock.

      • Nkarta Inc. has no parent corporation. Public investment
        firm T. Rowe Price (NASDAQ: TROW) owns 10.56% of the
        company’s stock.

      • Pfizer Inc. has no parent corporation. No publicly traded
        corporation owns 10% or more of Pfizer Inc.’s stock.




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      • RA Capital Management, LP has no parent corporation. No
        publicly traded corporation holds 10% or more of RA Capital
        Management, LP’s stock.

      • RH Capital Partners has no parent corporation. No publicly
        traded corporation holds 10% or more of RH Capital Partners’
        stock.

      • Second Genome, Inc. has no parent corporation. No publicly
        traded corporation holds 10% or more of Second Genome,
        Inc.’s stock.

      • Synlogic Inc. has no parent corporation. No publicly traded
        corporation owns 10% or more of Synlogic Inc.’s stock.

      • Wave Life Sciences has no parent corporation. Publicly
        traded company GSK plc (NYSE: GSK) owns 10.68% of Wave
        Life Sciences’ stock.

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         * Ms. Devendorf’s admission to practice law in the State of
         New York is pending; she is practicing with the direct
         supervision of the firm’s principals.

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   Dated: April 11, 2023

                                          /s/ Eva A. Temkin
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                    INTEREST OF AMICI CURIAE

     Amici curiae are pharmaceutical companies, pharmaceutical

company executives, and industry investors from across the United

States. The district court’s opinion would upend the application process

(New Drug Applications, or “NDAs”) that pharmaceutical companies use

to seek Food and Drug Administration (“FDA”) approval of new drugs.

Amici collectively hold hundreds of NDAs and anticipate filing many

more more for drugs currently in development.           Amici are therefore

deeply familiar with the high costs associated with drug development and

the need for regulatory clarity and certainty around drug approval, and

are well positioned to explain to the Court the substantial chilling effect

the district court’s decision will impose on the development of new drugs.

     A full list of amici is included as an Appendix to this brief.

     No fees have been paid or will be paid for the preparation and filing

of this amicus brief.
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                       SUMMARY OF ARGUMENT

      Each year, pharmaceutical developers and investors devote billions

of research and development dollars to creating new safe and effective

medications to treat diseases and improve lives. In the United States,

the process by which those drugs are tested to ensure that they are both

safe and effective is the product of nearly a century of federal legislation

delegating drug-approval oversight to FDA.

      The district court’s decision is at odds with that longstanding

statutory and regulatory framework. The district court unreasonably

found fault with FDA’s sound scientific judgments in order to stay

approval of a drug that has been approved for nearly a quarter-century

and used safely by millions of women. The court also badly misapplied

governing drug-approval laws, and administrative law more generally,

including by (i) substituting personal conclusions—drawn from anecdotes

and   cherry-picked    publications—for         FDA’s      rigorous,   data-driven

scientific analysis; (ii) holding, without legal basis, that FDA must

provide a special justification for any differences between a drug’s

labeling and the conditions that existed in the drug’s clinical trials;

(iii) opining, without scientific or legal basis, that head-to-head studies



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are   necessary    to   demonstrate         meaningful     therapeutic     benefit;

(iv) holding FDA’s reliance on adverse event data to be improper under

an incorrect (and impossible) standard; and (v) adopting an improperly

narrow interpretation of what constitutes a serious or life-threatening

illness and ignoring intervening amendments to the FDCA.

      Far from being limited to one drug, the logic of the district court’s

order overturns the long-settled legal basis of FDA’s drug-approval

process. Unless stayed, the district court’s lawless opinion will empower

any plaintiff to grind drug approvals to a halt, disrupting patients’ access

to critical medicines. That outcome would chill crucial research and

development, undermine the viability of investments in this important

sector, and wreak havoc on drug development and approval generally,

causing widespread harm to patients, providers, and the entire

pharmaceutical industry. Indeed, hundreds of industry members have

already signed a public letter arguing that the district court’s decision

“has set a precedent for diminishing FDA’s authority over drug

approvals” and “create[d] uncertainty for the entire biopharma industry,”

and calling for the decision to be reversed. See Letter Petition in Support




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of FDA’s Authority to Regulate Medicines (Apr. 7, 2023), https://doc

send.com/view/2ahvmwy8djzxax3g. 1

         Accordingly, amici urge this Court to stay, and ultimately reverse,

the district court’s order.

                                   ARGUMENT

I.       FDA’s Scientific and Medical Judgments Regarding Drug
         Approval Decisions Should Not Be Second-Guessed by
         Courts that Lack Similar Expertise.

         A.   Congress Intended FDA, Not the Courts, to Serve as the
              Expert Arbiter of the Safety and Effectiveness of
              Drugs.

         Since its enactment nearly a century ago, the Federal Food, Drug,

and Cosmetic Act (“FDCA”) has required that FDA determine that a new

drug is safe before it can be marketed. Pub. L. No. 75-717, 52 Stat. 1040

(1938) (codified as amended at 21 U.S.C. § 301 et seq.). In the early 1960s,

Congress added a further pre-marketing requirement that FDA

determine a drug is effective. Drug Amendments of 1962, Pub. L. No. 87-

781, § 102, 76 Stat. 780, 781–82 (codified as amended at various sections

of 21 U.S.C.).




    This brief focuses on the district court’s holdings that pose the greatest threat to
     1

drug development; it does not address all of the district court’s erroneous holdings.


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     With these dual requirements of safety and efficacy as the

touchstone of FDA review, over the last sixty years, Congress has

repeatedly expanded FDA’s authority and affirmed FDA’s role as the sole

arbiter of whether and how a drug should be made publicly available.

See, e.g., Food and Drug Administration Amendments Act of 2007, Pub.

L. No. 110-85, 121 Stat. 823; Food and Drug Administration Safety and

Innovation Act of 2012, Pub. L. No. 112-144, 126 Stat. 993. FDA has

faithfully implemented those requirements and has promulgated

regulations that describe the scientific principles of adequate and well-

controlled clinical investigations and the requirements for labeling of

approved drugs (21 C.F.R. §§ 201.56, 201.57, 314.50, 314.126). With

those statutory provisions and regulations as guardrails, FDA has

retained significant flexibility in the drug-approval process—flexibility

that is essential to allow FDA to apply its expert scientific and medical

judgment on a case-by-case basis.

     B.    The Statute and Regulations Require Painstaking
           Demonstrations of Safety and Effectiveness Before
           FDA Approval.

     The NDA process. Under the FDCA framework, FDA will approve

an NDA only if the application includes sufficient evidence of safety and



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“substantial evidence” of effectiveness from “adequate and well-

controlled investigations.” 21 U.S.C. § 355(d); see id. §§ 321(p), 331(d),

355(a).   To seek approval of an NDA, the drug sponsor typically

undertakes a lengthy and resource-intensive development program. It

performs rigorous scientific studies to demonstrate the drug’s safety and

efficacy, including: laboratory testing; preclinical (animal) testing; three

separate phases of clinical studies averaging several thousand patients;

developing chemistry, manufacturing, and controls information; and

developing label information to direct physician prescribing. Scientific

and medical experts at FDA engage with the drug sponsor throughout

the process, which culminates when the sponsor submits, and FDA

reviews, the NDA.

     FDA’s decision to approve a new drug application is complex and is

predicated on a rigorous process requiring particularized expertise. Only

if the applicant demonstrates that the drug is safe and effective for the

proposed use(s), and there is no other ground for denial, will FDA approve

the application. 21 U.S.C. § 355(c)(1). Conversely, FDA will refuse to

approve an NDA if the application does not demonstrate that the drug is

safe and effective for use under the conditions prescribed, recommended,



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or suggested in the proposed labeling. Id. § 355(b) & (d)(1), (2), (4), (5);

21 C.F.R. § 314.50(a)(1).

     Because all drugs have the potential for adverse effects,

demonstrating a drug’s safety does not require that a sponsor show an

absence of potential adverse effects, but rather that the drug’s benefits

outweigh any risks it poses. 21 U.S.C. § 355(d) (“The Secretary shall

implement a structured risk-benefit assessment framework in the new

drug approval process to facilitate the balanced consideration of benefits

and risks, a consistent and systematic approach to the discussion and

regulatory decisionmaking, and the communication of the benefits and

risks of new drugs.”); FDA, Draft Guidance for Industry: Benefit-Risk

Assessment for New Drug and Biological Products at 3 (Sept. 2021)

(“Because all drugs can have adverse effects, the demonstration of safety

requires a showing that the benefits of the drug outweigh its risks.”); see

also Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 476 (2013) (“In order for

the FDA to consider a drug safe, the drug’s probable therapeutic benefits

must outweigh its risk of harm.” (quotation marks omitted). This balance

between benefits and risks constitutes the core of FDA’s drug approval

standard.



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     The Subpart H regulations.                 In 1992, FDA promulgated

regulations to enhance the Agency’s flexibility with respect to: (1) the

kinds of evidence that FDA could rely on to make the requisite finding of

effectiveness in support of NDA approval, and (2) the tools FDA had at

its disposal to ensure positive benefit-risk calculations for particular

drugs.

     All drugs approved using the Subpart H tools meet the requisite

standards for approval. See generally Final Rule: New Drug, Antibiotic,

and Biological Drug Product Regulations; Accelerated Approval, 57 Fed.

Reg. 58,942 (Dec. 11, 1992). In addition to its more widely recognized

accelerated approval provisions, Subpart H allowed FDA to impose

conditions “needed to assure safe use,” including distribution restrictions,

on drugs intended to treat “serious or life-threatening illnesses” that

“provide[d] meaningful therapeutic benefit to patients over existing

treatments” and that otherwise satisfied the requirements of the FDCA.

Id. at 58,958 (codified at 21 C.F.R. §§ 314.500, 314.520).              Far from

disfavoring this balancing approach to making important drugs available

to the public, Congress subsequently codified these tools in the FDCA.

21 U.S.C. §§ 355-1, 356(c).



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          C.   FDA’s Drug Review Is the Gold Standard of Scientific
               Review.

          FDA’s drug review process is recognized as the “gold standard”

worldwide, assuring patients that the drugs they take are safe and

effective. The imprimatur of FDA approval thus has been and remains

critical to uptake and acceptance of new drugs, especially for new and

cutting-edge technologies.        Accordingly, clarity and predictability in

FDA’s review and approval process is particularly important for drug

development, which presents considerable expense and business risk,

and for incentivizing investment in such development. 2

II.       The District Court’s Order Misapprehends the Drug
          Approval Framework and Imposes Unworkable Standards
          that Will Upend Drug Development and Harm Patient
          Access.

          The district court ruled that FDA’s approvals of the mifepristone

NDA and 2016 supplemental NDA violated the FDCA and the

Administrative Procedure Act. In doing so, the court substituted its own

idiosyncratic views of clinical benefit and safety, replacing the gold-

standard benefit-risk analysis and expert judgment of FDA’s medical and


     Only about 12% of drugs entering clinical trials are ultimately approved, with
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recent studies estimating that R&D costs can exceed $2 billion per drug. See Cong.
Budget Office, No. 57025, Research and Development in the Pharmaceutical
Industry 2 (Apr. 2021), available at https://www.cbo.gov/publication/57126.


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scientific professionals with anecdotes and conjecture. The court also

misapprehended the degree of flexibility the FDCA affords FDA—with

its expert scientific judgment—in making safety and efficacy decisions.

Instead of appropriately deferring to FDA’s scientific expertise, the

district court instead crafted novel, unworkable standards to govern drug

development and approval.

     A.    Approved Labeling Cannot Be Limited to the Precise
           Conditions of Use Studied in Clinical Development.

     Ignoring the plain statutory text of the FDCA, FDA’s duly

promulgated regulations, and decades of precedent, the district court

found that FDA acted arbitrarily and capriciously in failing to match the

conditions of use in the FDA-approved labeling with those in the

supporting clinical trials.    See Dkt. 137, Memorandum Opinion and

Order (Apr. 7, 2023) (“Op.”) 51, 57–58. The district court acknowledged

that the FDCA does not require the conditions of use approved in the

labeling to “match” the conditions in the clinical trial supporting

approval. Op. 50 n.48, 60. The court nevertheless ruled that FDA had

acted arbitrarily and capriciously because it did not provide a detailed

explanation for not incorporating all of the clinical trial conditions into

the labeling. See Op. 51–58.


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       In so holding, the district court effectively transformed the drug-

approval paradigm, requiring FDA to justify each departure from clinical

trial conditions in approved labeling.The district court thus effectively

created a presumption that a drug’s labeling must include precisely the

same conditions as the clinical trials that supported approval, unless

FDA “cogently explain[s]” any differences.              Op. 60 (quotation marks

omitted). That presumption has no basis in law. 3 There are virtually

always differences between clinical trial conditions and approved

labeling, and FDA is not, and should not be, held to a heightened

standard to justify every such difference.

       Clinical trials are not intended to perfectly mirror real-world use

conditions.   Rather, traditional clinical trials are—and always have

been—“largely separate from routine clinical practice” and are “designed

to control variability and maximize data quality.” FDA, Framework for

FDA’s Real-World Evidence Program at 5 (Dec. 2018). As FDA and the

sponsor learn more about the drug through additional development, the

trial parameters evolve to reflect new knowledge. Thus, clinical trials


   3  The only “support” the district court mustered came from one university’s
Institutional Review Board glossary page—not from any statute, regulation, or
agency guidance. See Op. 49 & n.46.


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often have restrictive eligibility criteria and additional monitoring

procedures beyond those that would apply in clinical practice.                  For

example, FDA has identified numerous strategies to adopt selection

criteria that improve the power and practicality of a clinical trial, such

as requiring persistence of a disease over a run-in period; stability of

baseline measures such as blood pressure, exercise tests, or pulmonary

tests; or factors that improve the likelihood of compliance. FDA, Good

Review Practice: Clinical Review of Investigational New Drug

Applications (Dec. 2013).    But these strategies are not required or

expected to carry over into the approved labeling.

     The district court’s approach would disregard this longstanding

practice and require FDA to justify each and every difference between

the labeling and the trial conditions, encouraging judicial second-

guessing of FDA’s sound and reasoned judgments. It would also create

an avenue for parties to challenge FDA’s decision any time the Agency

does not require a precise match between labeling and trial conditions—

essentially every time FDA approves a drug. This framework is rigid and

unworkable. For example, in early clinical trials, the conditions imposed

inevitably and significantly differ from anticipated clinical practice.



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Under the district court’s rule, a sponsor could therefore not rely on early

efficacy studies to provide substantial evidence of effectiveness—a

common practice for cutting-edge technologies and drugs for rare

diseases, among others.

     B.    The Court Was Wrong to Substitute Its Own Views for
           FDA’s Scientific Judgment Regarding a Drug
           Approval.

     In relevant part, section 505(d) of the FDCA requires FDA to deny

an application if it does not “include adequate tests by all methods

reasonably applicable to show whether or not such drug is safe for use

under the conditions prescribed, recommended, or suggested in the

proposed labeling thereof.” 21 U.S.C. § 355(d).

     The district court faulted FDA for not denying the mifepristone

NDA under this standard. However, the opinion identified no errors in

FDA’s scientific judgment or calculations. Instead, the court proffered its

own, competing analysis, which lacked any evidence that could support

the type of rigorous scientific decision-making with which FDA is tasked.

The court cast aside not only the voluminous scientific evidence FDA

considered at the time of approval, but also nearly a quarter century of

subsequent data showing safe and effective use of the drug. In its place,



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the court relied on personal stories told by plaintiffs and cherry-picked,

unreliable publications—many of which were not even submitted to FDA.

The court then ruled that FDA was required to refuse to approve the NDA

based on the court’s own non-scientific assessment of this alternative,

incomplete record.

       This result is contrary to the statute, and it violates bedrock

principles of administrative law. Left standing, this non-expert, judicial

second-guessing threatens to cause turmoil for the industry and those

that invest in it, and for patients as well. 4




   4 The district court suggested in passing that FDA’s 2000 approval of mifepristone
may have been arbitrary and capricious because the drug was not “tested for under-
18 girls undergoing reproductive development” notwithstanding FDA’s “Pediatric
Rule” and the subsequently-enacted Pediatric Research Equity Act (“PREA”). Op. 51
& n.49. That brief suggestion bears little weight. The district court acknowledged
that a court subsequently determined the Pediatric Rule exceeded FDA’s authority.
And PREA, like the Pediatric Rule before it, does not necessarily require a drug
sponsor to conduct separate pediatric studies; for example, FDA can rely on
extrapolation or waiver to satisfy the statutory conditions for approval or can defer
the obligation. See 21 U.S.C. § 355c. FDA explained in 2016 why no additional
pediatric studies were required under PREA, see FDA, New Drug Application
No. 020687/S-020, Summary Review at 17–19 (Mar. 29, 2016), https://www.access
data.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020SumR.pdf, and the district
court did not even address that explanation, much less hold that it was arbitrary or
capricious.


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     C.    The District Court’s Order Would Create Impossibly
           Rigid New Standards for Drug Development and
           Approval.

      When second-guessing FDA’s expert review, the district court also

took an inexplicably rigid approach to interpreting and applying the

statutory and regulatory requirements.             But nothing in the FDCA

mandates such rigid requirements on study design or otherwise prevents

FDA from applying its expert judgment to assess the adequacy of the

scientific evidence presented in individual NDAs. To the contrary, NDA

applicants can leverage studies from many different sources, even in lieu

of conducting clinical studies. See 21 U.S.C. § 355(b)(2). Clinical studies

can reflect a wide range of designs; an NDA is required only to contain

sufficient data to demonstrate the drug’s safety and effectiveness. 21

C.F.R. § 314.50.   This flexibility is crucial, including because not all

disease states or treatments lend themselves to particular study designs.

See, e.g., Sundeep Agrawal et al., Use of Single-Arm Trials for US Food

and Drug Administration Drug Approval in Oncology, 2002-2021, 9

JAMA Oncology 266 (2023) (reviewing approved marketing applications

based on single-arm trials).




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     The district court’s approach would have ripple effects across FDA’s

programs for drugs intended to treat serious and life-threatening

diseases and conditions—programs that are essential to facilitating and

expediting the development and review of critical medicines. It would

narrow eligibility for these programs, delay patient access to life-saving

medications, and discourage development in the first instance. Without

sufficient flexibility, sponsors would lose considerable efficiency in

bringing new drugs to market—and in updating and innovating on

existing approved applications.        And patients would lose access to

potentially lifesaving and life-improving treatments.

       1. The District Court Wrongly Suggested that Head-to-
          Head Studies Are Needed to Demonstrate “Meaningful
          Therapeutic Benefit.”

     Whether a drug confers a meaningful therapeutic benefit to

patients is a matter of scientific judgment and depends on the magnitude

of the drug’s effect and the importance of that effect to treatment of the

patient’s condition. These matters call for the application of the Agency’s

expertise. The district court, however, rejected FDA’s determination that

the drug in question conferred a meaningful therapeutic benefit. Instead,

the court concluded that a meaningful therapeutic benefit cannot be



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found absent a clinical trial comparing treatments. See Op. 44–47. That,

too, was error.

     There is no legal requirement that “meaningful therapeutic benefit”

be demonstrated by any particular type of study, or by a particular

comparison with alternatives. Quite the contrary: As with clinical study

designs, FDA exercises appropriate discretion in determining meaningful

therapeutic benefit, and findings of meaningful therapeutic benefit are

often made even in the absence of any existing approved treatment. See

FDA, Guidance for Industry: Expedited Programs for Serious Conditions

– Drugs and Biologics at 16 (May 2014) (noting that “[a]mended section

506(c) [of the FDCA] clarifies the Agency’s flexibility,” including when

determining whether a drug provides a meaningful advantage).

     Although the NDA in question here was not approved under an

expedited program, a number of those programs require FDA to consider

the proposed drug in the context of other treatments. See, e.g., 21 U.S.C.

§ 356(c)(1)(A) (FDA must “tak[e] into account … the availability or lack

of alternative treatments”). FDA’s discretion to determine whether a

drug confers a meaningful benefit is a critical element of numerous FDCA

programs, including breakthrough therapy designation (21 U.S.C.



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§ 356(a)), accelerated approval (21 U.S.C. § 356(c)), and priority review

designation (see Prescription Drug User Fee Act of 1992, Pub. L. No. 102-

571, 106 Stat. 4491), all of which are vital for drug developers to ensure

funding and attain regulatory engagement.

       Requiring head-to-head clinical data as a prerequisite to these

expedited programs would render them meaningless. And the type of

second-guessing in which the district court engaged—in violation of

established principles of administrative law—would inject an intolerable

level of uncertainty into FDA’s determinations in this area. Moreover,

ethical considerations may preclude conducting head-to-head clinical

trials, for example, in oncology treatments for terminal patients. This

Court should affirm that FDA enjoys the flexibility to determine

“meaningful therapeutic benefit” through the application of its expert

judgment, with or without head-to-head data—and that a non-surgical

treatment can provide a “meaningful therapeutic benefit” over a surgical

one.

        2. Innovations and Labeling Updates Do Not Require
           Specific Types of Comparative Trial Data.

       The district court also concluded that FDA acted arbitrarily and

capriciously by failing to compare the safety of proposed labeling changes


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“against the then-current regimen.” Op. 59. The court thus suggested

that a labeling change is permissible only if supported by a clinical trial

that perfectly compares the pre- and post-change conditions. The court

cited no authority for this requirement—and none exists. Incremental

improvements to approved drugs (including new indications) are often

supported by multiple types of studies and data. Under the district

court’s approach, FDA could no longer approve such changes without

requiring costly, unjustified studies. The district court’s approach would

freeze drug labeling in time, discourage sponsors from continuing to

innovate on their existing products, and deprive patients of access to

improved treatments.

     Similarly, post-approval labeling changes are a common and

necessary part of approval maintenance, but the district court’s approach

would prevent reliance on even new data and information to support post-

approval changes unless the trial conditions perfectly matched the

labeling changes. This would be an impossible burden.

       3. The District Court Would Undermine FDA’s Use of
          Safety Data.

     The district court found fault with FDA’s reliance on data from the

FDA Adverse Event Reporting System (“FAERS”) because, after 15 years


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of monitoring, FDA pared back the heightened reporting requirements it

had previously imposed for mifepristone and brought them in line with

those that apply to nearly every other approved drug. The district court

objected to FDA’s decision to no longer require reporting of some adverse

events, for which it previously had imposed a heightened reporting

requirement.       Based on reports received over a 15-year period, the

Agency determined that extra reporting was no longer needed, and that

the reporting requirements should be equalized to those of “every NDA

holder.” FDA, New Drug Application No. 020687/S-020, Medical Review

at 8 (Mar. 29, 2016); see 21 C.F.R. § 314.80(c)(1)(i). The district court

further objected to FDA’s reliance on the reporting that it did deem

necessary.   See Op. 38–39.      But both of those actions were entirely

reasonable exercises of FDA’s authority and expertise, especially in light

of the Agency’s long experience with the drug in question. The district

court’s reasoning would require FDA to either blind itself to this critical

source of safety data or impose an egregiously overinclusive reporting

standard on drug sponsors. Either would impose unnecessary costs on

industry and undermine the very purpose of FAERS reporting, which is

to require reporting on issues of specific concern.



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        4. The District Court Adopted an Improperly Narrow
           Interpretation of “Serious and Life-Threatening
           Illness.”

       Similar to “meaningful therapeutic benefit,” various FDCA

programs require FDA to assess whether a drug is intended to treat a

“serious” or “life-threatening” disease or condition. E.g., 21 U.S.C. § 356;

cf. 21 C.F.R. § 314.500.          FDA enjoys considerable discretion in

implementing these programs.

       Instead of deferring to FDA’s medical expertise, however, the

district court unreasonably limited FDA’s discretion by adopting a

cramped interpretation of the terms “serious” and “life-threatening,” as

well as drawing an artificial distinction between an “illness” and a

“condition.” Under the district court’s view, FDA would be precluded

from    considering     serious   complications          or   negative   experiences

associated with a disease or condition in determining whether it is

covered by that language. Op. 40–41; id. at 44. Again, no legal authority

justifies the district court’s novel restriction on FDA’s discretion and

exercise of its scientific judgment, which would undermine settled FDA

practice and the industry research, development, and investment that

relies on those practices.



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     Moreover, the district court did not need to interpret “meaningful

therapeutic benefit” or “serious or life-threatening illness” at all. For

more than 15 years, mifepristone has been regulated under 21 U.S.C.

§ 355-1, which does not include those limitations and applies to any drug

for which the Agency concludes additional regulation is necessary to

ensure a positive benefit-risk balance. Yet the district court needlessly

reached out to decide these issues under the Subpart H regulations, and

its mistaken decision will have serious negative implications for other

programs under the FDCA.

III. The District Court’s Transformation of FDCA Requirements
     Will Chill Drug Development and Investment.

     In all the ways discussed above and more, regulatory flexibility and

respect for FDA’s scientific judgment are crucial to fostering development

of new and innovative drugs. FDA has exercised this critical flexibility

in approving thousands of drugs, including numerous transformative

medicines. Had those drugs been developed or reviewed by FDA under

the district court’s groundless approach, it is unlikely that a single one

would have been approved—or that their approvals would have gone

unchallenged—and countless patients would have suffered needlessly.




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      For example, if the district court’s unworkable standard were

adopted going forward, drug developers would have to conduct trials

using only the conditions of use for which inclusion in labeling would be

appropriate (and only for those patients for whom the drug ultimately

might be indicated), or else risk a district court reversal of FDA’s

approval, decades later and without any scientific justification. This

untenable approach would pose significant obstacles to designing clinical

trials.     It would limit the utility of early efficacy studies and raise

questions about the utility of other kinds of studies, like bioequivalence

and bioavailability studies, to support marketing applications. It would

also ossify labeling, excluding new information gathered from outside the

original clinical trials and threatening further innovations.

      In addition, development of drugs that depend on FDA programs

reserved for drugs expected to confer meaningful therapeutic benefit,

including many for rare diseases, would collapse under the weight of a

head-to-head study requirement. And, with the Court’s narrowing of

FDA’s discretion to determine whether a drug is intended to treat a

“serious” or “life-threatening” disease or condition, many drugs would no




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longer be eligible for these programs, delaying their availability to

patients or even discouraging their development altogether.

     In these ways and others, the district court’s decision will shatter

FDA’s “gold standard” of review. Drug development is an increasingly

high risk and high cost endeavor, with only a small fraction of drugs

progressing from preclinical studies through clinical trials to market.

The stability of FDA’s regulatory framework provides much-needed

assurance to investors that fund the development of lifesaving

medications. This is particularly important in early development, when

drug developers must secure sufficient capital to fund expensive clinical

trials. By calling into question the Agency’s longstanding framework for

demonstrating safety and effectiveness, the district court’s opinion

destabilizes FDA approval decisions—even decades after a drug’s

approval.   This additional uncertainty would make the already high

degree of risk in these investments intolerable. And without necessary

investment, drug development would freeze, stifling innovation and

limiting treatment options for patients.

     If allowed to take effect, the district court’s decision will result in a

seismic shift in the clinical development and drug approval processes,



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erecting unnecessary and unscientific barriers to the approval of

lifesaving medicines, chilling drug development and investment,

threatening patient access, and destabilizing the pharmaceutical

industry.

                                CONCLUSION

     For the reasons set forth above, this Court should stay, and

ultimately reverse, the district court’s order.

                                               Respectfully submitted,

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                       CERTIFICATE OF SERVICE

     I certify that on April 11, 2023, the foregoing Brief of

Pharmaceutical Companies, Executives, and Investors as Amici Curiae

in support of appellants’ motion for stay pending appeal has been served

via the Court’s ECF filing system in compliance with Rule 25(b) and (c)

of the Federal Rules of Appellate Procedure on all registered counsel of

record and has been transmitted to the Clerk of the Court.

     I further certify that a copy of the foregoing was served via First-

Class U.S. Mail upon the following unregistered counsel:

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     This brief contains 4,542 words, as counted by Microsoft Word,

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